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    1   KINGSLEY & KINGSLEY, APC
        DARREN M. COHEN, ESQ. SBN-221938
    2   dcohen@kingsleykingsley.com
        16133 VENTURA BLVD., SUITE 1200
    3   ENCINO, CA 91436
        (818) 990-8300; FAX (818) 990-2903
    4
        Attorneys for Plaintiff
    5
    6
    7
    8
                              UNITED STATES DISTRICT COURT
    9
                            CENTRAL DISTRICT OF CALIFORNIA
   10
   11   STEVEN A. ARREOLA, an individual, Case No.: 2:19-cv-04123-JAK-MAA
        on behalf of himself and others
   12   similarly situated,               [Assigned for all purposes to the Hon.
                                          John A. Kronstadt]
   13
                            Plaintiff,            CLASS ACTION
   14
               vs.                                DECLARATION OF DARREN M.
   15                                             COHEN IN SUPPORT OF
        SHAMROCK FOODS COMPANY;                   PLAINTIFF’S UNOPPOSED MOTION
   16
        and DOES 1 to 50, inclusive,              FOR AWARD OF ATTORNEY’S
                                                  FEES AND COSTS AND CLASS
   17                                             REPRESENTATIVE
                            Defendants.           ENHANCEMENT AT FINAL
   18                                             APPROVAL OF CLASS ACTION
                                                  SETTLEMENT
   19
                                                  [Filed concurrently with Notice of Motion
   20                                             and Motion; Memorandum in Support;
                                                  Supporting Declarations of Norman
   21                                             Alcantara, and Steven A. Arreola; and
                                                  [Proposed] Order
   22
                                                  Date:        August 30, 2021
   23                                             Time:        8:30 a.m.
                                                  Dept.:       Courtroom10B
   24
                                                  Complaint Filed: March 21, 2019
   25                                             Amended Complaint: August 31, 2019
   26
   27
   28

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    1                       DECLARATION OF DARREN M. COHEN
    2         I, Darren M. Cohen, declare as follows:
    3         1.     I am an attorney licensed and admitted to practice before all courts of
    4   the State of California, the United States District Court for the Central, Southern,
    5   Eastern, and Northern Districts of California, and the Ninth Circuit Court of
    6   Appeals. I am an attorney of Kingsley & Kingsley, APC, counsel for Plaintiff
    7   Steven A. Arreola (“Plaintiff”) on behalf of himself and all other similarly situated
    8   employees of Defendant Shamrock Foods Company (“Defendant”) (together, the
    9   “Parties”). My firm and I are referred to herein as Class Counsel. I have personal
   10   knowledge of the facts herein and if called as a witness, I could and would
   11   competently testify. All of the matters set forth herein are within my personal
   12   knowledge, except those matters that are stated to be upon information and belief.
   13   As to such matters, I believe them to be true.
   14         2.     I have represented Plaintiff and the Class Members since the inception
   15   of this matter. I submit this Declaration in support of the Motion for Award of
   16   Attorney’s Fees and Costs to Plaintiff’s Counsel and awarding the Class
   17   Representative Enhancement and Service Award to Plaintiff, as addressed in detail
   18   in the Parties’ Joint Stipulation of Settlement and Release Between Plaintiff and
   19   Defendant and related Amendments (“Settlement Agreement” or “Settlement”).
   20   ECF No. 30-3, 34-1, and 40.
   21         3.     This Declaration focuses on our firm’s qualifications and background,
   22   the attorneys who worked on this action, our hourly rates and lodestar hours we
   23   have dedicated to it thus far, the litigation costs our firm has incurred, and the
   24   Representative Enhancement Service Award we are requesting for Plaintiff.
   25                           The Parties and Procedural History
   26         4.     Plaintiff was employed by Defendant as non-exempt, hourly employee
   27   employed in the General Warehouse position in Defendant’s facility in Eastvale,
   28   California. On March 12, 2019, Plaintiff sent a letter to the Labor and Workforce

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    1   Development Agency (“LWDA”) alleging that Defendant violated Labor Code
    2   §§ 203, 226(a), 226.7, and 512.
    3         5.     On March 21, 2019, Plaintiff filed a proposed class action Complaint
    4   captioned Steven A. Arreola v. Shamrock Foods Company, Case No. 19STCV09541
    5   in the Los Angeles County Superior Court on behalf of himself and all other
    6   similarly situated employees (“Complaint” or “Action”). The Complaint alleged
    7   causes of action for failure to provide meal periods, failure to provide rest periods,
    8   failure to provide accurate itemized wage statements, waiting time penalties
    9   pursuant to Labor Code § 203, and unfair business practices under Business &
   10   Professions Code § 17200, et seq. The Complaint sought recovery of compensatory
   11   damages for meal period compensation, rest period compensation, pay stub
   12   violations, waiting time penalties, pre-judgment and post-judgment interest,
   13   issuance of an injunction, restitution and attorney’s fees and costs.
   14         6.     On May 10, 2019, Defendant filed an Answer. On May 13, 2019,
   15   Defendant removed the case to Federal Court.
   16         7.     On August 2, 2019, the Parties attended a mediation before Joel M.
   17   Grossman, Esq. At the mediation, after a full day of negotiation based on the
   18   documents and information exchanged, the Parties agreed in principle to the terms
   19   governing the settlement of this action and all of Plaintiff’s class and representative
   20   claims in it. The Parties then began working on completing their long form
   21   Settlement Agreement.
   22         8.     On August 13, 2019, Plaintiff filed a First Amended Complaint to add a
   23   sixth cause of action for penalties pursuant to Labor Code § 2699, et seq.
   24         9.     On August 29, 2019, Defendant filed an Answer to Plaintiff’s First
   25   Amended Complaint.
   26         10.    Pursuant to the Plaintiff’s Notice of Settlement (ECF No. 27), the Court
   27   vacated all case management dates except filing of Plaintiff’s Preliminary Approval
   28   Motion. ECF No. 28.

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    1           11.   On December 2, 2019, Plaintiff filed his Unopposed Motion for
    2   Preliminary Approval (ECF No. 30) of the Parties’ Joint Stipulation of Settlement
    3   and Release Between Plaintiff and Defendant. ECF No. 30-3, Ex. A.
    4           12.   On December 19, 2019, Plaintiff filed a First Amendment to the Joint
    5   Stipulation of Settlement and Release Between Plaintiff and Defendant. ECF No.
    6   34-1.
    7           13.   On March 3, 2020, the Court ordered Plaintiff and the Parties to
    8   provide supplemental briefing. ECF No. 37. On March 13, 2020, Plaintiff and the
    9   Parties provided a Joint Statement in Support of Plaintiff’s Unopposed Motion for
   10   Preliminary Approval. ECF No. 38.
   11           14.   On May 20, 2021, the Court issued an Order Re Unopposed Motion for
   12   Preliminary Approval for Class Action Settlement granting Preliminary Approval of
   13   the Settlement. ECF No. 39.
   14           15.   On June 15, 2021, the Parties filed a Second Amendment to the joint
   15   Stipulation of Settlement and Release Between Plaintiff and Defendant. ECF No.
   16   40.
   17           16.   On June 8, 2021, Simpluris, Inc. (“Claims Administrator”) received the
   18   class data file from Defendant’s Counsel. Declaration of Norman Alcantara
   19   Regarding Notice and Settlement Administration (“Alcantara Decl.”), ¶ 6.
   20           17.   On June 24, 2021, the Claims Administrator mailed the Class Notice,
   21   via U.S. First Class Mail, to 111 Class Members. Id. at ¶ 8.
   22           18.   On August 9, 2021, the deadline to object or opt out of the Settlement
   23   will pass. Id. ¶ 15.
   24                                      SETTLEMENT
   25           19.   The Settlement provides a maximum recovery of $295,000.00 (the
   26   “Gross Fund Value” or “GFV”). If the Court approves the Settlement, the following
   27   estimates the breakdown of payments from the GFV:
   28   ///

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    1           •        $146,251.00 for estimated settlement funds to the Settlement Class (the
    2                    “Net Settlement Fund” or “NSF”);
    3           •        $5,999.001 for administration costs regarding the Settlement;
    4           •        $15,000.00 payment to the LWDA;
    5           •        $5,000.00 to the PAGA Members;
    6           •        $7,500.00 for a Service Award to Plaintiff Steven A. Arreola; and
    7           •        up to $103,250.00 for attorney’s fees; and
    8           •        up to $12,000.00 in litigation costs. Settlement, ¶ 19.e.
    9           20.      The NSF will be paid in its entirety to the Class Members who decide
   10   to participate in the Settlement and will be divided into two separate funds. Id. at
   11   ¶ 19.g. Each Settlement Class Member will receive a Settlement Payment
   12   calculated by multiplying the number of workweeks he or she worked during the
   13   Class Period by the Workweek Settlement Value. PAGA Members will
   14   automatically receive a settlement payment based on workweeks worked during the
   15   PAGA liability period.
   16           21.      Based on a Settlement Class Size of 111 and the anticipated NSF,
   17   Plaintiff anticipates the approximate payment per Class Member to be $1,317.58.
   18   Alcantara Decl., ¶ 13.
   19           22.      Class Counsel’s actual costs are lower, which results in a slightly
   20   higher NSF to be distributed to the Class than anticipated by the Settlement
   21   Administrator.
   22                                       Investigation and Mediation
   23           23.      Prior to the mediation Defendant, also voluntarily provided class data
   24   and information which permitted an objective assessment of Defendant’s potential
   25   liability exposure, including numbers for the current and former Class Members and
   26   their total work weeks worked during the Class Period, along with other information
   27
        1
   28     The Settlement Agreement provides for administration costs up to $7,000.00, which was preliminary approved by
        the Court. However, the actual administration costs incurred by the Claims Administrator were $5,999.00. Alcantara
        Decl., ¶ 19. As such, the $1,001.00 difference will be added to the NSF. Settlement Agreement, ¶ 19(f).
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    1   required to assess the potential settlement value.
    2         24.    Finding that their respective interests are best served by compromise,
    3   the Parties agreed to mediate after conducting the discovery and investigation and
    4   did so on August 2, 2019 with well-respected wage and hour mediator, Joel M.
    5   Grossman in Los Angeles, California. After a full day of substantial negotiations,
    6   the Parties were able to reach a settlement in principle and entered into a tentative
    7   agreement, which formed the basis for the Settlement that followed and is now
    8   before the Court for Final Approval. ECF No. 30-3. At all times, the Parties’
    9   settlement negotiations have been non-collusive, adversarial, and at arm’s length,
   10   while recognizing the uncertainty, risk, expense, and delay attendant to continuing
   11   the Action through trial and any appeals. Id.
   12         25.    The Parties reached their Settlement only after evaluating Plaintiff’s
   13   theories of potential exposure for the underlying claims, and, with the assistance of
   14   the mediator, considering discounts to potential liability in light of Defendant’s
   15   contentions and defenses. Using the comprehensive discovery and class data
   16   provided by Defendant, Class Counsel calculated Defendant’s potential liability
   17   exposure for Plaintiff’s main class-wide claims for failure to provide meal and rest
   18   periods and the PAGA claim.
   19            FRCP Rule 23(g) – Class Counsel Background and Experience
   20         26.    My firm is well qualified because of our experience, knowledge, and
   21   resources to act as counsel and represent Plaintiff and the Class Members in this
   22   action. My practice is exclusively focused on employment matters, with a
   23   substantial percentage devoted to litigating wage, hour, and working-conditions
   24   violations on a class-wide basis.
   25         27.    I graduated from the University of Texas at Austin in 1999 with a
   26   Bachelor of Business Administration and a Master in Professional Accounting. I
   27   graduated from Loyola Law School of Los Angeles in 2002.
   28         28.    I have been practicing law since 2002. Since 2004, I have focused

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    1   almost exclusively on representing employees, including in wage-and-hour class
    2   actions. During my career, I have represented employees in over 100 wage-and-
    3   hour class action lawsuits as lead or co-lead counsel (including several in the
    4   Central, Southern, Eastern and Northern Districts of California), and I have obtained
    5   six and seven figure settlements against a range of defendants, including Fortune
    6   500 companies. These cases have involved the gamut of wage-and-hour claims,
    7   including claims for failure to pay minimum and overtime wages, failure to provide
    8   meal and rest breaks, failure to reimburse necessary business expenses, inaccurate
    9   pay statements, failure to pay timely wages—similar to claims at issue in the present
   10   matter.
   11         29.    I am experienced in prosecuting employment matters, particularly class
   12   actions. In addition to the present case, I am also class counsel for dozens of other
   13   putative certified wage-and-hour class-action lawsuits pending in various state and
   14   federal jurisdictions throughout California.
   15         30.    My extensive experience in litigating employment wage and hour
   16   matters has been integral in identifying legal issues, evaluating the strengths and
   17   weaknesses of a case, and generally negotiating fair and reasonable class action
   18   settlements. Practice in the narrow field of wage and hour litigation requires skill
   19   and knowledge concerning the constantly evolving substantive law (state and
   20   federal), as well as the procedural law of class action litigation. In this action, I am
   21   fully equipped to use the skills and knowledge I have developed through more than
   22   a decade of prosecuting and defending wage and hour class actions to fairly and
   23   adequately represent the interests of the Class Members. Therefore, on the account
   24   of my resources, experience, and knowledge, I am well qualified to act as Class
   25   Counsel and represent Plaintiff and the Class Members in this action.
   26         31.    I am currently Lead Counsel or Co-Lead Counsel on more than 10
   27   different wage and hour class actions. Throughout the past years, I have also been
   28   named as Class Counsel on several wage and hour class actions. Below is a

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    1   representative sampling of those cases:
    2                A.    Popielarski v. B.G. Jazz Grill, LLC (BC330338) Los Angeles
    3   County Superior Court.      The matter was approved for final settlement by the
    4   Honorable John Shepard Wiley, Jr. in May 2006, in the gross amount of $37,500.00,
    5   with attorney’s fees request of 33 1/3%.
    6                B.    Wallace v. What’s Cookn Inc. (BC341924) Los Angeles County
    7   Superior Court. The matter was approved for final settlement by the Honorable
    8   Teresa Sanchez Gordon in September 2007, in the gross amount of $125,000.00,
    9   with attorney’s fees request of 30%.
   10                C.    Janzen v. Miyagis & Co. (BC342973) Los Angeles County
   11   Superior Court. The matter was approved for final settlement by the Honorable
   12   Maureen Duffy-Lewis in January 2008, in the gross amount of $55,000.00, with
   13   attorney’s fees request of 25%.
   14                D.    Chatman v. HVM LLC (BC343861) Los Angeles County
   15   Superior Court. The matter was approved for final settlement by the Honorable
   16   Elihu M. Berle in March 2007, in the gross amount of $957,000.00, with attorney’s
   17   fees request of 20.8%.
   18                E.    Escobar v. Orion Plastics Corporation (BC349221) Los Angeles
   19   County Superior Court.      The matter was approved for final settlement by the
   20   Honorable John Shepard Wiley Jr. in March 2007, in the gross amount of
   21   $162,500.00, with attorney’s fees request of 30.7%.
   22                F.    Silverstein v. Morels Steakhouse (BC353322) Los Angeles
   23   County Superior Court.      The matter was approved for final settlement by the
   24   Honorable Mary Thornton House in April 2007, in the gross amount of
   25   $175,000.00, with attorney’s fees request of 30%.
   26                G.    King v. Closet World, Inc. (BC345834) Los Angeles County
   27   Superior Court. The matter was approved for final settlement by the Honorable
   28   William H. Mackey in May 2007, in the gross amount of $475,000.00, with

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    1   attorney’s fees request of 30%.
    2                H.    Gray v. Beverly Hills Steakhouse (BC357498) Los Angeles
    3   County Superior Court.      The matter was approved for final settlement by the
    4   Honorable John P. Shook in December 2007, in the gross amount of $750,000.00,
    5   with attorney’s fees request of 30%.
    6                I.    Ryan v. Hilton Hotels Corporation (BC364260) Los Angeles
    7   County Superior Court.      The matter was approved for final settlement by the
    8   Honorable Mary Thornton House in March 2008, in the gross amount of
    9   $1,675,000.00, with attorney’s fees request of 33 1/3%.
   10                J.    Fowzer v. Northstar Moving Corporation (BC369338) Los
   11   Angeles County Superior Court. The matter was approved for final settlement by
   12   the Honorable Richard L. Fruin in September 2008, in the gross amount of
   13   $600,000.00, with attorney’s fees request of 30%.
   14                K.    Benitez v. GRA-GAR LLC (CIVSS709965) San Bernardino
   15   County Superior Court.      The matter was approved for final settlement by the
   16   Honorable W. Robert Fawke in February 2009, in the gross amount of $250,000.00,
   17   with attorney’s fees request of 33 1/3%.
   18                L.    Rollins v. Big Wangs, Inc. (BC393775) Los Angeles County
   19   Superior Court. The matter was approved for final settlement by the Honorable
   20   Malcolm H. Mackey in October 2009, in the gross amount of $195,000.00, with
   21   attorney’s fees request of 33 1/3%.
   22                M.    Keene v. The Gap, Inc. (CGC-07-466574) San Francisco County
   23   Superior Court. The matter was approved for final settlement by the Honorable
   24   John E. Munter in October 2009, in the gross amount of $475,000.00, with
   25   attorney’s fees request of 30%.
   26                N.    Agnew v. Black Tie Event Services, Inc. (BC378413) Los
   27   Angeles County Superior Court. The matter was approved for final settlement in
   28   May 2010, in the gross amount of $96,000.00, with attorney’s fees request of 33

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  1   1/3%.
  2                O.    Sevier v. Excalibur Well Service (S-1500-CV-265391-WDP)
  3   Kern County Superior Court. The matter was approved for final settlement by the
  4   Honorable William D. Palmer in May 2010, in the gross amount of $550,000.00,
  5   with attorney’s fees request of 33 1/3%.
  6                P.    Walker v. Hennessey’s Tavern, Inc. (BC375599) Los Angeles
  7   County Superior Court. The matter was approved for final settlement by the
  8   Honorable Richard L. Fruin in August 2010, in the gross amount of $946,655.57,
  9   with attorney’s fees request of $750,000.00.
 10                Q.    Nguyen V. Lucky Strike Del Amo, LLC; et al. (BC400084) Los
 11   Angeles County Superior Court. The matter was approved for final settlement by
 12   the Honorable Joanne B. O’Donnell in September 2010, in the gross amount of
 13   $190,000.00, with attorney’s fees request of 33 1/3%.
 14                R.    Welch v. California Cemetery and Funeral Services, LLC
 15   (BC396793) Los Angeles County Superior Court. The matter was approved for
 16   final settlement by the Honorable Terry A. Green in September 2010, in the gross
 17   amount of $1,230,000.00, with attorney’s fees request of 33 1/3%.
 18                S.    Boske v. Toys “R” Us - Delaware, Inc. (BC378328) Los Angeles
 19   County Superior Court.      The matter was approved for final settlement by the
 20   Honorable Ann I. Jones in September 2010, in the gross amount of $1,850,000.00,
 21   with attorney’s fees request of $450,000.00.
 22                T.    Rosales v. TAMCO (BC413846) Los Angeles County Superior
 23   Court. The matter was approved for final settlement by the Honorable Robert L.
 24   Hess in October 2010, in the gross amount of $850,000.00, with attorney’s fees
 25   request of 33 1/3%.
 26                U.    Chatman v. Rainbow USA Inc. (BC419328) Los Angeles County
 27   Superior Court. The matter was approved for final settlement by the Honorable
 28   James Dunn in February 2011, in the gross amount of $500,000.00, with attorney’s

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  1   fees request of 30%.
  2                V.    Amiott v. Eat Good Stuff, Inc. (BC402083) Los Angeles County
  3   Superior Court. The matter was approved for final settlement by the Honorable
  4   Debre K. Weintraub in June 2011, in the gross amount of $200,000.00, with
  5   attorney’s fees request of 30%.
  6                W.    Ninua v. Regis Corp. (CV 09 04045 (JSW)) United States
  7   District Court Northern District of California. The matter was approved for final
  8   settlement by the Honorable Jeffery White in September 2011, in the gross amount
  9   of $750,000.00, with attorney’s fees request of 30%.
 10                X.    Elvey v. Southland Paving, Inc. (37-2008-00095271-CU-OE-
 11   CTL) San Diego County Superior Court.           The matter was approved for final
 12   settlement by the Honorable Joel M. Pressman in September 2011, in the gross
 13   amount of $650,000.00, with attorney’s fees request of 33 1/3%.
 14                Y.    Driscoll v. Staff Pro, Inc. (BC417925) Los Angeles County
 15   Superior Court. The matter was approved for final settlement by the Honorable Luis
 16   Lavin in December 2011, in the gross amount of $450,000.00, with attorney’s fees
 17   request of 30%.
 18                Z.    Stephens v. Fresh & Easy Neighborhood Market, Inc.
 19   (BC418826) Los Angeles County Superior Court. The matter was approved for
 20   final settlement by the Honorable Jane Johnson in November 2012, in the gross
 21   amount of $173,439.00, with attorney’s fees request of $357,400.00.
 22                AA. Silvas v. Southwestern Furniture of Wisconsin, LLC (JCCP4731)
 23   San Diego County Superior Court. The matter was approved for final settlement by
 24   the Honorable John S. Meyer in October 2013, in the gross amount of $150,500.00,
 25   with attorney’s fees request of $42,985.00.
 26                BB. Fraley v. NOHO 1 L.P., d.b.a. BIG WANGS (BC473387) Los
 27   Angeles County Superior Court. The matter was approved for final settlement by
 28   the Honorable Richard E. Rico in March 2014, in the gross amount of $95,000.00,

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  1   with attorney’s fees request of $31,666.67.
  2                CC. Hernandez v. Universal Waste Systems, Inc. (BC473371) Los
  3   Angeles County Superior Court. The matter was approved for final settlement by
  4   the Honorable Richard L. Fruin in October 2014, in the gross amount of
  5   $1,300,000.00, with attorney’s fees request of $433,333.33.
  6                DD. Rios v. Retail Assistance Corporation (BC515050) Los Angeles
  7   County Superior Court.      The matter was approved for final settlement by the
  8   Honorable William F. Highberger in May 2015, in the gross amount of $408,715.28,
  9   with attorney’s fees request of $166,666.67.
 10                EE.   Calhoun v. Applied Perceptions LLC (BC515049) Los Angeles
 11   County Superior Court.      The matter was approved for final settlement by the
 12   Honorable Kenneth R. Freeman in November 2015, in the gross amount of
 13   $490,113.83, with attorney’s fees request of $200,000.00.
 14                FF.   Pena v. Shoe Palace Corporation (1-13-CV-249131) Santa Clara
 15   County Superior Court.      The matter was approved for final settlement by the
 16   Honorable Peter H. Kirwan in January 2016, in the gross amount of $440,000.00,
 17   with attorney’s fees request of $146,666.67.
 18                GG. Gladue v. Heartland Employment Services, LLC (34-2015-
 19   00180146) Sacramento County Superior Court. The matter was approved for final
 20   settlement by the Honorable Raymond M. Cadei in March 2016, in the gross amount
 21   of $985,000.00, with attorney’s fees request of $328,333.33.
 22                HH. Millan v. Cascade Water Services, Inc. (1:12-cv-01821-AWI-
 23   EPG) United States District Court, Eastern District of California. The matter was
 24   approved for final settlement by the Honorable Anthony W. Ishii in May 2016, in
 25   the gross amount of $150,000.00, with attorney’s fees request of $50,000.00.
 26                II.   Carpenter v. ATA Retail Services, Inc. (M132645) Monterey
 27   County Superior Court.      The matter was approved for final settlement by the
 28   Honorable Lydia M. Villarreal in August 2016, in the gross amount of $800,000.00,

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  1   with attorney’s fees request of $266,666.67.
  2                JJ.   Forbes v. ISL Employees, Inc. (37-2015-00016114-CU-OE-NC)
  3   San Diego County Superior Court – North County Regional Center. The matter was
  4   approved for final settlement by the Honorable Jacqueline M. Stern in October
  5   2016, in the gross amount of $450,000.00, with attorney’s fees request of
  6   $157,500.00.
  7                KK. Christian v. Ortiz Corporation (37-2016-00006768-CU-OE-
  8   CTL) San Diego County Superior Court.           The matter was approved for final
  9   settlement by the Honorable Joan M. Lewis in July 2017, in the gross amount of
 10   $300,000.00, with attorney’s fees request of $100,000.00.
 11                LL.   Martinez v. CFHS Holdings, Inc. (BC603390) Los Angeles
 12   County Superior Court.      The matter was approved for final settlement by the
 13   Honorable Deidre Hill in August 2017, in the gross amount of $425,000.00, with
 14   attorney’s fees request of $141,666.67.
 15                MM. Munila v. Quest Diagnostics Incorporated, which will do
 16   business in California as Quest Diagnostics Incorporated of Nevada (RG16808899)
 17   Alameda County Superior Court. The matter was approved for final settlement by
 18   the Honorable Brad Seligman in September 2017, in the gross amount of
 19   $1,350,000.00, with attorney’s fees request of $400,000.00.
 20                NN. Hull v. Deluxe Shared Services Inc., (BC595144) Los Angeles
 21   County Superior Court.      The matter was approved for final settlement by the
 22   Honorable Maren E. Nelson in February 2018, in the gross amount of $300,000.00,
 23   with attorney’s fees request of $100,000.00.
 24                OO. Roberts v. California Physicians’ Service, (STK-CV-UOE-2016-
 25   0002575) San Joaquin County Superior Court. The matter was approved for final
 26   settlement by the Honorable Carter Holly in March 2018, in the gross amount of
 27   $235,000.00, with attorney’s fees request of $78,333.33.
 28                PP.   Jewell v. Pyramid Enterprises, Inc. (BC637461) Los Angeles

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  1   County Superior Court.        The matter was approved for final settlement by the
  2   Honorable Elihu M. Berle in June 2018, in the gross amount of $400,000.00, with
  3   attorney’s fees request of $133,333.33.
  4                QQ. Alcocer v. MG Remediation, Inc. (BC660713) Los Angeles
  5   Superior Court. The matter was approved for PAGA settlement by the Honorable
  6   Ruth A. Kwan in August 2018, in the gross amount of $52,000.00, with attorney’s
  7   fees request of $20,800.00.
  8                RR. Tommi v. Frontline Technology Solutions, LLC (37-2017-
  9   00032380-CU-OE-CTL) San Diego Superior Court. The matter was approved for
 10   final settlement by Honorable Kenneth Medel in November 2018, in the gross
 11   amount of $120,000.00, with attorney’s fees request of $42,000.00.
 12                SS.   Bobo v. Omar Orozco’s Contracting (CVCV-2017-194) Yolo
 13   Superior Court. The matter was approved for final settlement by Honorable Thomas
 14   E. Warriner in March 2019, in the gross amount of $175,000.00, with attorney’s fees
 15   request of $61,250.00.
 16                TT.   Arias v. Star Staffing, Inc. (SCV257009) Sonoma Superior
 17   Court. The matter was approved for PAGA settlement by Honorable Jennifer V.
 18   Dollard in June 2019, in the gross amount of $250,000.00, with attorney’s fees
 19   request of $83,333.33.
 20                UU. Gilbert Torrez v. Jayone Foods, Inc. (BC708541) Los Angeles
 21   Superior Court. The matter was approved for PAGA settlement by the Honorable
 22   William F. Highberger in July 2019, in the gross amount of $75,000.00, with
 23   attorney’s fees request of $25,000.00.
 24                VV. Goertemiller v. IQOR Holdings US Inc. (BC631279) Los
 25   Angeles Superior Court.       The matter was approved for final settlement by the
 26   Honorable Ann I. Jones in August 2019, in the gross amount of $240,000.00, with
 27   attorney’s fees request of $80,000.00.
 28                WW. Bigby v. Eugene Burger Management Corporation (34-2015-

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  1   00182515-CU-OE-GDS) Sacramento Superior Court. The matter was approved for
  2   final settlement by the Honorable David L. Brown in August 2019, in the gross
  3   amount of up to $900,000.00, with attorney’s fees request of $315,000.00.
  4                XX. Banks v. Allison-Sierra, Inc. (18CV-03528) Merced County
  5   Superior Court. The matter was approved for final settlement by the Honorable
  6   Brian L. McCabe in November 2019, in the gross amount of $775,000.00, with
  7   attorney’s fees request of $271,250.00.
  8                YY. Becerra v. Central Transport, LLC (BC712869) Los Angeles
  9   County Superior Court.      The matter was approved for final settlement by the
 10   Honorable Amy D. Hogue in June 2020, in the gross amount of $600,000.00, with
 11   attorney’s fees request of $200,000.00.
 12                ZZ.   Nelson v. Soup Bases Loaded, Inc. (BC719430) Los Angeles
 13   County Superior Court.      The matter was approved for final settlement by the
 14   Honorable Ann I. Jones in July 2020, in the gross amount of $303,450.00, with
 15   attorney’s fees request of $105,000.00.
 16                AAA. Keating v. Nine Sofia, LLC (BC699156) Los Angeles County
 17   Superior Court. The matter was approved for final settlement by the Honorable
 18   Maren E. Nelson in August 2020, in the gross amount of $161,700.00, with
 19   attorney’s fees request of $53,900.00.
 20                BBB. Perez v. Santa Rosa Stainless Steel                Fabricators, Inc.
 21   (SCV261498) Sonoma County Superior Court. The matter was approved for final
 22   settlement by the Honorable Arthur A. Wick in September 2020, in the gross
 23   amount of $231,015.51, with attorney’s fees request of $75,000.00.
 24                CCC. Kindle     v.   Kaplan    International    North     America,   LLC
 25   (18STCV07608) Los Angeles County Superior Court. The matter was approved for
 26   final settlement by the Honorable Yvette M. Palazuelos in September 2020, in the
 27   gross amount of $725,000.00, with attorney’s fees request of $241,666.67.
 28                DDD. Covarrubias       v.    The    Martin-Brower       Company,     LLC

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  1   (19STCV26101) Los Angeles County Superior Court. The matter was approved for
  2   final settlement by the Honorable Ann I. Jones in December 2020, in the gross
  3   amount of $550,000.00, with attorney’s fees request of $192,500.00.
  4                EEE. Alvarez v. Bear Communications, Inc. (19STCV24961) Los
  5   Angeles Superior Court. The matter was approved for PAGA settlement by the
  6   Honorable Amy D. Hogue in January 2021, in the gross amount of $130,000.00,
  7   with attorney’s fees request of $43,333.33.
  8                FFF. Avila v. Simply Right, Inc., a Utah corporation (BC538100) Los
  9   Angeles County Superior Court. The matter was approved for final settlement by
 10   the Honorable Yvette M. Palazuelos in February 2021, in the gross amount of
 11   $245,000.00, with attorney’s fees request of $85,750.00.
 12                GGG. Gonzalez v. Cleanstreet, Inc. (20STCV04305) Los Angeles
 13   County Superior Court.      The matter was approved for final settlement by the
 14   Honorable William F. Highberger in July 2021, in the gross amount of $420,000.00,
 15   with attorney’s fees request of $147,000.00.
 16                HHH. Coney      v.   Sentinel     Real   Estate   Corporation,    et   al.
 17   (19STCV09983) Los Angeles County Superior Court. Preliminary Approval was
 18   granted on May 3, 2021, by the Honorable Carolyn B. Kuhl. Plaintiff’s Motion for
 19   Final Approval is currently scheduled for September 21, 2021.
 20                III.   Mendoza v. G&M Oil Inc. (BC660714) Los Angeles County
 21   Superior Court.     Preliminary Approval was granted on May 28, 2021, by the
 22   Honorable William F. Highberger.         Plaintiff’s Motion for Final Approval is
 23   currently scheduled for November 2, 2021.
 24                JJJ.   Bello v. Seiko Watch of America LLC (19STCV22400) Los
 25   Angeles County Superior Court. Preliminary Approval was granted on July 28,
 26   2021, by the Honorable Ann I. Jones. Plaintiff’s Motion for Final Approval is
 27   currently scheduled for December 6, 2021.
 28         32.    Kingsley & Kingsley, APC has extensive experience ligating wage and

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  1   hour class actions. The firm has been appointed Class Counsel and has litigated
  2   numerous wage and hour class actions. Some of which include:
  3         •      Tran v. Progressive Gaming Group, Los Angeles County Superior
  4   Court (BC316988), contested Class Certification approved.
  5         •      Devian v. Leegin Creative Leather Products, Inc., Los Angeles County
  6   Superior Court (BC325161), contested Class Certification approved.
  7         •      Sierra v. Aames Home Loan, Los Angeles County Superior Court (BC
  8   326928), contested Class Certification approved.
  9         •      Budrow v. Dave & Buster’s of California, Inc., Los Angeles County
 10   Superior Court (BC349060), contested Class Certification approved.
 11         •      Isaguirre v. Guess, Inc., Los Angeles County Superior Court
 12   (BC357631), contested Class Certification approved.
 13         •      Agnew v. Black Tie Event Services, Inc., Los Angeles Superior Court
 14   (BC378413), contested Class Certification approved.
 15         •      Lewis, et al. v. Collabrus, Inc., et al., Santa Clara Superior Court (1-09-
 16   CV-142927), contested Class Certification approved.
 17         •      Driscoll v. Staff Pro, Inc., Los Angeles County Superior Court
 18   (BC417925), contested Class Certification approved.
 19         •      Hernandez v. Universal Waste Systems, Inc., Los Angeles County
 20   Superior Court (BC473371), contested Class Certification approved.
 21         •      Amaro, et al. V. Gerawan Farming, Inc., United States District Court
 22   for the Eastern District of California (1:14-cv-00147-DAD-SAB), contested Class
 23   Certification approved.
 24         •      Weldon v. Geo Corrections & Detentions, LLC, Kern County Superior
 25   Court (BCV-16-102833), contested Class Certification approved.
 26         33.    Class Counsel is experienced and qualified to evaluate the Class claims
 27   and viability of the defenses. Class Counsel has experience not only in class actions
 28   and employment litigation, but specifically in wage and hour class actions.

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  1   Experienced Counsel in this case, operating at arms-length, has weighed all of the
  2   foregoing factors and endorses the proposed Settlement. Class Counsel believes that
  3   the Settlement is fair, reasonable, adequate, and in the best interests of the Class.
  4         34.    I do not believe that I have any conflicts of interest with the Class
  5   Members, the aggrieved PAGA employees, or with Plaintiff. I am not related to
  6   Plaintiff. I have not previously represented Defendant in any matter. I respectfully
  7   submit that Kingsley & Kingsley, APC and I are well suited to act as Class Counsel
  8   for Plaintiff and the Class Members in this action, and we have and will continue to
  9   vigorously represent the interests of those individuals.
 10                           Class Representative Service Award
 11         35.    The separate Service Award payment to Plaintiff is intended to
 12   recognize his time and effort on behalf of the Class. Class Counsel contends, and
 13   Defendant do not contest, that the proposed payment of $7,500.00 to Plaintiff for his
 14   services as the Class Representative is fair and appropriate. By initiating and
 15   prosecuting this action, Plaintiff bore all the risks associated with a potentially
 16   unfavorable outcome, including liability for Defendant’s attorney’s fees. Moreover,
 17   even if successful, Plaintiff risked incurring retaliation from current and prospective
 18   employers for suing Defendant because employers are less likely to hire an applicant
 19   who has sued his former employer over one who has not.
 20         36.    Plaintiff spent a considerable amount of time and effort assisting Class
 21   Counsel by, inter alia, providing documents and information, identifying witnesses,
 22   helping them analyze documents produced by Defendant, assisting Class Counsel in
 23   drafting the mediation brief, participating in the mediation, and reviewing and
 24   signing the Settlement Agreement. Declaration of Steven A. Arreola in support of
 25   Motion for Attorney’s Fees, Costs, Representative Enhancement Award (“Arreola
 26   Decl.”), ¶¶ 7-26. At all times, Plaintiff served unselfishly as the champion of the
 27   Class Members. Id. Furthermore, the proposed Service Award, subject to the
 28   approval of the Court, is a very small percentage of the aggregate value of the GFV.

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  1   Plaintiff has provided a Declaration in support of the requested Service Award and
  2   detailing his contributions to the Class and this litigation. Id.
  3         37.    The Settlement Agreement provides that Class Counsel will move the
  4   Court for a Service Award for Plaintiff in the amount of up to $7,500.00. Plaintiff
  5   has agreed to serve as the Class Representative, and he will and has fairly and
  6   adequately protected the Class interests. The Arreola Declaration establishes he has
  7   no interests in conflict with the Class Members, he is well aware of his duties as
  8   class representative and has actively participated in the prosecution of this case to
  9   date. Id.
 10         38.    Plaintiff assisted Class Counsel with investigation and evaluation of the
 11   class and representative claims, including producing documents and attending
 12   multiple telephonic conferences and meetings with Plaintiff’s Counsel. He worked
 13   with Class Counsel from the onset of their investigation providing statements and
 14   information regarding Defendant’s policies and practices. Id. Plaintiff spent a
 15   considerable amount of time and effort assisting Class Counsel by providing
 16   documents and information, being available to discuss intricate details of the case on
 17   multiple occasions, responding to discovery propounded by Defendant, identifying
 18   witnesses, helping counsel analyze documents produced by Defendant, assisting
 19   Class Counsel in preparing for mediation, participating in the mediation, and
 20   reviewing and signing the Settlement Agreement. Id.
 21         39.    At all times, Plaintiff served unselfishly as the champion of the Class.
 22   In doing so, and by initiating and prosecuting this action, Plaintiff bore all the risks
 23   associated with a potentially unfavorable outcome, including liability for
 24   Defendant’s attorney’s fees. Moreover, even if successful, Plaintiff risked incurring
 25   retaliation from prospective employers for suing Defendant because employers are
 26   less likely to hire an applicant who has sued his former employer over one who has
 27   not. Id. at ¶ 22. Based on my experience as Class Counsel, fear of publicity
 28   resulting from serving as a Named Plaintiff is one of the primary reasons people

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  1   whose rights have been violated decide not to sue their employer. In addition, the
  2   proposed service payment is modest compared to the estimated aggregate value of
  3   the settlement compensation being provided to the Class as a whole. There are no
  4   conditions attached to Plaintiff seeking such incentive. Therefore, neither the size
  5   nor terms on the incentive awards undermine the adequacy of the class
  6   representative.
  7         40.    As a former employee of Defendant, Plaintiff has placed his future
  8   employment prospects in peril by becoming a class representative. If/when Plaintiff
  9   looks for future employment, it is common for employers to screen employee
 10   candidates to determine whether they have ever filed suit, and that employee
 11   candidates who might be branded “litigious” are likely to be screened out of the
 12   process. In fact, an entire industry has developed for providing employers with
 13   background information on employee candidates. The companies that provide these
 14   services actually promote themselves by touting their ability to identify and weed
 15   out potentially litigious employee candidates.
 16         41.    For all of these reasons, the proposed service award is fair and justified.
 17   Both state and federal courts recognize that class representatives should be specially
 18   compensated for the time and energy they put into the case as well as the risks they
 19   undertake prosecuting such actions. Plaintiff has satisfied his obligations as Class
 20   Representative, has incurred numerous hours in service to this case and the Class
 21   Members, and has been invaluable in developing the claims, conducting discovery
 22   into them, and in reaching the Settlement. Id. at ¶¶ 7-26. The Declaration from
 23   Plaintiff in support of Class Counsel’s Fees and Costs and his Service Award and
 24   Final Approval further address the details of his contributions to this favorable
 25   litigation result. Id. Plaintiff and Class Counsel request that he be awarded the
 26   requested Class Representative Service Award of $7,500.00.
 27                         Request for Attorney’s Fees and Costs
 28         42.    Administration of the Settlement will soon be completed, and the final

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  1   approval hearing is approaching on August 30, 2021. Plaintiff therefore requests,
  2   without opposition from Defendant, that Plaintiff’s Counsel be awarded at final
  3   approval, from the preliminarily approved Gross Settlement Amount of
  4   $295,000.00, attorney’s fees (not to exceed 35% of the Gross Settlement Amount,
  5   i.e. $103,250.00) and actual reasonable litigation costs, as awarded by the Court
  6   (with present costs at approximately $7,499.43). Any portion of the fees or costs
  7   that are not awarded to Class Counsel will be added back into the NSF for
  8   distribution to the Class Members. ECF No. 30-3, 34-1, and 40.
  9         43.    Class Counsel requests that the Court consider awarding attorney’s fees
 10   at the 35% of the Settlement based on Class Counsel’s submissions in connection
 11   with this Motion and throughout the litigation of this action. Kingsley & Kingsley,
 12   APC, along with myself, have the background, resources, and experience to
 13   zealously represent Plaintiff and the Class Members, and have done so.
 14         44.    From my extensive experience litigating and settling wage-and-hour
 15   class and representative actions, I believe that the requested award is fair and
 16   reasonable to compensate Class Counsel for all work done and to be done in
 17   prosecuting this action through approval and disbursement.
 18         45.    Class Counsel is well acquainted with the contingent-fee market
 19   throughout California particularly as it pertains to complex-employment, wage-and-
 20   hour, and class and representative action litigation. Class Counsel has negotiated
 21   numerous contingency-fee agreements with plaintiffs, both as individuals and as
 22   representatives in class-action suits and in other PAGA only actions. Many of those
 23   agreements required that counsel receive a fee of up to 40% of any recovery that
 24   was obtained and be reimbursed for the costs that counsel incurred out of the
 25   recovery amount.
 26         46.    Plaintiff, in his capacity as a representative of the Class, signed a
 27   contingency-fee agreement providing that Class Counsel could receive up to 40% of
 28   any recovery if this case settled. This is a standard percentage in employment-

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  1   related contingency agreements throughout California. Indeed, in declarant’s
  2   opinion, the Class Members in this complex wage-and-hour case could not have
  3   retained more competent counsel in California, particularly with the considerable
  4   skill and expertise of Counsel, for any amount less than the contingency-fee
  5   percentage provided in the retainer agreement with Plaintiff.
  6           47.   Class Counsel charges rates commensurate with or less than the
  7   prevailing market rates in the Los Angeles area, for attorneys of comparable
  8   experience and skill handling complex litigation. The hourly rates for individual
  9   lawyers who worked on this matter from Kingsley & Kingsley, APC are:
 10
 11                       ATTORNEY                           RATE

 12                       Eric B. Kingsley                   $850.00

 13                       Darren M. Cohen                    $700.00
 14
              48.   I have provided a summary of my background and experience, and
 15
      other cases where I have been approved as Class Counsel and received the above
 16
      hourly rate, in the above paragraphs and in connection with Preliminary Approval of
 17
      the Settlement.
 18
              49.   Mr. Kingsley has been practicing since 1996 and his billing rate is
 19
      $850.00 per hour. He has litigated hundreds of such cases, including at the appellate
 20
      level at the U.S. Supreme Court, the California Supreme Court, the Ninth Circuit,
 21
      and the Court of Appeal. He is also a prolific speaker at various seminars on
 22
      employment law and has contributed to legal publications on employment topics.
 23
      He is knowledgeable of both the narrow issues of the substantive law and procedure
 24
      of this Court. Mr. Kingsley has worked on this action since the firm undertook this
 25
      case.
 26
              50.   An article in the Wall Street Journal on February 9, 2016, titled Legal
 27
      Hours Cross New Mark: $1,500 an Hour states that “a review of filings over the
 28

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  1   past three months in about two dozen bankruptcy cases shows that senior partners
  2   routinely charge between $1,200 and $1,300 an hour, with top rates at several large
  3   law firms exceeding $1,400.” The article also explains that “despite low inflation
  4   and weak demand for legal services, rates at large corporate law firms have risen by
  5   3% to 4% a year since the economic downturn.” Finally, the article notes that “the
  6   average highest rate paid for law-firm partners was $875 an hour in 2015.” A true
  7   and correct copy of this article is attached hereto as Exhibit A.
  8         51.    Class Counsel’s rates are in line with the 2020-2021 adjusted Laffey
  9   Matrix, which is a fee scale that courts often consult in determining the
 10   reasonableness of hourly rates. Under the adjusted Laffey Matrix, a reasonable rate
 11   for an attorney with 20+ years of experience, such as Mr. Kingsley, is $914, and a
 12   reasonable rate for an attorney with 19 years of experience, such as myself, is $759.
 13   A true and correct copy of the 2020-2021 Adjusted Laffey Matrix is attached hereto
 14   as Exhibit B.
 15         52.    Class Counsel has invested substantial time and maintained significant
 16   expense and effort to prosecute this case. The requested 35% of the total settlement
 17   amount for fees, and reimbursement of Class Counsel’s reasonable litigation costs,
 18   are reasonable and adequate to compensate Class Counsel for the substantial work
 19   they have put into this case and the risk they assumed by taking it in the first place.
 20   The attorney’s fees award is intended to reimburse Class Counsel for all
 21   uncompensated work that they have already done and for all the work they will
 22   continue to do in connection with this litigation, and attorney’s fees and costs should
 23   be awarded to Class Counsel under Labor Code § 2699(g) for the PAGA claims.
 24   Counsel requests its reasonable attorney’s fees of $103,250.00 under the percentage
 25   of the common fund and in accordance with the federal benchmark. This is
 26   warranted when reviewed under the lodestar cross-check, which establishes Class
 27   Counsel has invested enough hours such that no lodestar multiplier is required.
 28   ///

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  1                         The Lodestar Method and Cross-Check
  2         53.    Class Counsel’s lodestar calculation supports the requested attorney’s
  3   fees. The lodestar calculation typically proceeds in three steps. First, a trial court
  4   must determine a baseline guide or “lodestar” figure based on the time spent and
  5   reasonable hourly compensation for each attorney involved in the case. Serrano v.
  6   Priest (1975) 20 Cal.3d 25, 48. The court then sets a reasonable hourly fee to apply
  7   to the time expended, with reference to the prevailing rates in the geographical area
  8   in which the action is pending. Bihun v. AT&T Information System (1993) 13
  9   Cal.App.4th 976, 997. Finally, a “multiplier” is selected with reference to the
 10   following factors: (1) the novelty and difficulty of issues involved, (2) the skill
 11   displayed in presenting them, (3) the extent to which the nature of the litigation
 12   precluded other employment by the attorneys, and (4) the contingent nature of the
 13   fee award, based on the uncertainty of prevailing on the merits and of establishing
 14   eligibility for the award. Serrano, 20 Cal.App.3d at 49.
 15         54.    As summarized above, Class Counsel charges rates commensurate with
 16   or less than the prevailing market rates in the Los Angeles area for attorneys of
 17   comparable experience and skill handling complex litigation. See Laffey Matrix, at
 18   Exhibit B. Also, Class Counsel’s rates have been approved in numerous other
 19   settlements we have negotiated in state and federal courts in recent years, including
 20   in the Central District.
 21         55.    Class Counsel has made all reasonable attempts to avoid duplication of
 22   assignments and to assign tasks to timekeepers at the appropriate billing rates.
 23         56.    To provide the Court with an overview of the work done by Class
 24   Counsel in this case, without requiring the review of our voluminous time records
 25   themselves, I have divided my firm’s work into specific phases and tasks that track
 26   the progress of the litigation from our initial investigation through settlement. I
 27   therefore provide the attached summary of the timekeeping records detailing the
 28   hours I worked in connection with this action in the time and task summary at

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  1   Exhibit C to this Declaration. I have incurred at least 169.2 hours (including
  2   anticipated future time) thus far in prosecuting this action. I have also included a
  3   similar time and task summary for Eric B. Kingsley who incurred at least 14.8
  4   hours, for a total of 184.0 hours.
  5         57.    A lodestar is as follows: Eric B. Kingsley ($750.00/hr. x 14.8 hours =
  6   $11,100.00) and Darren M. Cohen (($635.00/hr. x 126.3 hours) + ($700.00/hr. x
  7   42.9 hours) = $110,230.50). This results in a total lodestar, to date, of $121,330.50.
  8   This does not include the additional hours by paralegals and staff, and also does not
  9   include all the hours that will be incurred to take this action through Settlement
 10   approval, funding, and disbursement. For example, our firm and staff have received
 11   calls from Class Members with questions regarding the Settlement, and we expect
 12   this to increase as funding and disbursement approach. Therefore, the requested
 13   fees of $103,250.00 will not require any lodestar multiplier, when considering all
 14   the hours that remain required for taking this action through the approval, funding,
 15   and disbursement process. In fact, the fee request represents only 0.85 of the
 16   lodestar incurred.
 17         58.    I submit that a lodestar cross-check of these timekeeping records
 18   supports a conclusion that a 35% award of $103,250.00 is reasonable under both the
 19   percentage of the fund approach and following the lodestar cross-check.
 20         59.    Many federal courts have authorized fees in excess of 25%.
 21   Rubenstein, Conte and Newberg, Newberg on Class Actions, §14:6 (4th ed. 2002);
 22   Singer v. Becton, Dickinson & Co., 2010 WL 2196104, at *8 (S.D. Cal. 2010);
 23   Collins v. ITT Educational Servs., Inc., Case No. 12-cv-1395-DMS-BGS, Dkt. No.
 24   93. (S.D. Cal, Jan. 15, 2015). Class Counsel has provided support for the fees and
 25   costs awards using both methodologies, lodestar and percentage-of-the-fund, as
 26   cross checks. Defendant does not oppose this application for attorney’s fees and
 27   costs, and there have been no objectors to date. Any potential reduction by the
 28   Court of the requested fees and costs does not change the remaining terms of the

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  1   Settlement and will be added back into the NSF.
  2         60.    In addition to the hours worked, or to be worked, by Class Counsel, the
  3   attorney’s fees award also takes into account the risks of prosecuting this action.
  4   Class Counsel prosecuted this case on a contingency basis with no guarantee of
  5   recovery and had to devote a significant amount of time and money without the
  6   possibility of receiving any compensation unless Plaintiff prevailed. When this case
  7   was taken on a contingent-fee basis, with the firm advancing all litigation costs, the
  8   ultimate result was far from certain. Defendant defended this action vigorously, and
  9   there has been substantial procedure, investigation, discovery, and informal
 10   discovery to date which have required a substantial investment of time and
 11   resources. There is always the possibility that all the work Class Counsel had done
 12   would have gone uncompensated.
 13         61.    In the course of this litigation, Class Counsel had to incur substantial
 14   out-of-pocket costs including, but not limited to, filing fees, service of process, copy
 15   charges for documents, attorney-service costs for court filings, computer research,
 16   travel expenses and mediator’s fees. Practicing in the narrow area of wage-and-hour
 17   litigation requires skill and knowledge concerning the constantly evolving
 18   substantive law, state and federal, as well as the procedural law of class-action and
 19   representative action litigation and involves a great deal of risk in that these cases
 20   can be lost on both class-action and representative action procedural rulings as well
 21   as the merits. Further, due to the high stakes involved in terms of both retroactive
 22   and prospective relief, wage and hour class actions and representative actions are
 23   vigorously defended, and this case was no exception.
 24         62.    Moreover, by working on this case, Class Counsel passed up other
 25   employment. This case did not just crowd out another case, but because of the
 26   significant time commitment involved, it also crowded out our capacity to take
 27   several other cases. Part of the reason for this is that several areas of wage and hour
 28   law are constantly developing, and thus the issues presented in this case required

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  1   more than just a general apprehension of wage-and-hour law and class-action and
  2   representative action procedure.
  3         63.    For all of the above reasons Class Counsel’s contingency-fee
  4   percentage of 35% for fees is reasonable. Federal courts and California courts have
  5   recognized that an appropriate method for determining the award for attorney’s fees
  6   is based on a percentage of the total value of benefits made available to the class
  7   members by the settlement. Boeing Co. v. Van Gemert, 444 U.S. 472, 478, 100
  8   S.Ct. 745, 749 (1980); Vincent v. Hughes Air West, Inc. (9th Cir. 1977) 557 F.2d
  9   749, 769 (9th Cir. 1977); Lealao v. Beneficial California, Inc., 82 Cal. App. 4th 19,
 10   28, 97 Cal. Rptr. 2d 797 (2000) (recognizing the federal trend to award a percentage
 11   of the common fund as attorneys’ fees rather than the lodestar method). The
 12   requested fee award is justified under both approaches.
 13         64.    Moreover, federal courts often award attorney’s fees of greater than
 14   25% of the common fund. In Re Pacific Enter. Sec. Litig., 47 F.3d 373, 379 (9th
 15   Cir. 1995) (affirming 33 percent award); In Re Activision Sec. Litig., 723 F.Supp.
 16   1373 (N.D. Cal. 1989) (noting that fee awards in common fund cases “almost
 17   always hover [ ] around 30% of the fund created by the settlement”); Vizcaino v, et
 18   al. v. Opinion Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002)(in upholding 28
 19   percent attorneys’ fees award of $27 million settlement). Although there are no
 20   bright-line rules in this area, fifty percent of the fund is typically considered the
 21   upper limit, with thirty to fifty percent commonly awarded as attorneys’ fees in
 22   cases where the common fund is relatively small. 4 Newberg § 14.6; Van Vranken
 23   v. Atlantic Richfield Company, 901 F. Supp. 294 (N.D. Cal. 1995) (stating that most
 24   cases where 30-50 percent was awarded involved smaller settlement funds of under
 25   $10 million); In re Ampicillin Antitrust Litigation, 526 F. Supp. 494 (D. D.C. 1981)
 26   (awarding attorney’s fees consisting of 50% of $7.3 million settlement); In re
 27   Warner Communications Securities Litigation, 618 F. Supp. 735, 749-50 (S.D.N.Y.
 28   1985) (attorneys’ fees up to 50 percent of the total possible value of the settlement

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  1   permissible).
  2         65.     To sum up, Class Counsel diligently litigated this matter to vindicate
  3   the rights of Class Members. Class Counsel undertook this complex, risky,
  4   expensive, and time-consuming litigation solely on a contingency basis and in so
  5   doing have secured substantial benefits for Class Members. Consequently, the
  6   Court should approve the requested attorney’s fees of $103,250.00 as adequate and
  7   reasonable.
  8                                Reasonable Litigation Costs
  9         66.     As of the date of the filing of the instant motion, my firm has
 10   documented costs of approximately $7,499.43. Class Counsel incurred costs
 11   including, but not limited to, filing fees (e.g. complaint, stipulation, motions),
 12   service of process, travel costs, mediation fees, attorney-service costs for court
 13   filings and chambers’ copies and the like, copy charges for documents, parking and
 14   mileage, and postage charges. At Exhibit D to this Declaration, I provide a copy of
 15   our firm’s cost ledger listing the reasonable litigation related expenses we have
 16   incurred thus far in connection with this action. The Court has preliminarily
 17   approved actual reasonable litigation costs. Class Counsel respectfully requests that
 18   the Court approve reimbursement of our reasonable litigation costs from the
 19   Settlement.
 20         The Risks of Representation Support the Requested Fees and Costs
 21         67.     This matter has required Class Counsel to expend substantial time that
 22   could have been spent on other fee-generating matters. We took this matter on a
 23   pure contingency basis, expending this effort without any guarantee of recovery. At
 24   various times, the litigation has consumed a significant percentage of my time, my
 25   attorney colleagues’ time, and my staff’s time.
 26         68.     When lawyers at our firm spend time on contingency matters, they do
 27   so at significant opportunity cost for the firm. We frequently turn away hourly
 28   matters, including hourly litigation matters, in order to enable its attorneys to work

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  1   on contingency matters, primarily (though not exclusively) class actions.
  2            69.   Because we constantly decline to represent workers with valid legal
  3   claims – who might pay hourly or retain us on a contingency basis – there is a
  4   significant opportunity cost to each class action we pursue. Class Counsel
  5   undertook representation of the Plaintiff in this action without any assurance of
  6   payment for its services, litigating the case on a wholly contingent basis in the face
  7   of significant risk. Class wage and hour cases of this type are, by their very nature,
  8   complicated and time-consuming. Any lawyer undertaking representation of large
  9   numbers of affected employees in wage and hour actions inevitably must be
 10   prepared to make a tremendous investment of time, energy, and resources.
 11   Sometimes these cases result in a recovery for the class, and sometimes they do not,
 12   in which case we are paid nothing for our time and costs incurred.
 13      70.     There are always risks attendant to billing cases on a contingency basis.
 14   Those risks are even higher in the current economic climate. Kingsley & Kingsley
 15   bills the vast majority of its cases on contingency and has been affected by recent
 16   bankruptcy filings. In two separate cases, Lozoya v. Shore House Café, Inc., No.
 17   30-2008-00082103-CU-OE-CJC (Orange Super. Ct. filed Mar. 7, 2008) and Davis
 18   v. Crossfire Marketing Group, LLC, No. CIVRS1207797 (San Bernardino Super.
 19   Ct. filed October 5, 2012), the defendants both filed for bankruptcy protection in
 20   June 2011 and January 2015 after years of litigation. My firm advanced costs and
 21   incurred thousands of dollars in fees that will never be recovered.
 22      71.     Additionally, there are cases where Class Counsel takes on the extreme risk
 23   of attempting to certify a class case, often times turning down class or individual
 24   settlement offers that Class Counsel feels are not in the best interest of the class,
 25   only to lose class certification and the costs and fees associated with the litigation.
 26   See e.g., Prosad v. Del Taco Restaurant Services, Inc., No. BC426538 (L.A. Super.
 27   Ct. filed Nov. 2009); Perez v. Safelite Group, Inc., CV-10-8653-RGK(FFMx) (C.D.
 28   Cal. filed October 5, 2010).

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  1      72.   When Class Counsel’s motions for class certification are denied, Class
  2   Counsel often appeals the orders. Sometimes, these denials are overturned (Perez v.
  3   Safelite Group, Inc., 553 Fed.Appx. 667 (9th Cir. 2015); Anderson v. Total Renal
  4   Care, Inc., No. B236207 (Cal. Ct. App. 2012)) and other times Class Counsel is
  5   unsuccessful (Prosad v. Del Taco Restaurant Services, Inc., No. B238605 (CA. Ct.
  6   App. 2012)).
  7      73.   Kingsley & Kingsley has been involved in numerous lengthy and
  8   protracted appeals process before the California Court of Appeal, the Ninth Circuit,
  9   the Seventh Circuit, and the United States Supreme Court. Our firm specifically has
 10   taken and lost some issues on appeal that required the write-off of significant legal
 11   fees. Also, our firm has been successful on appeal and overturned unfavorable
 12   lower court rulings or successfully fought to have successful rulings affirmed.
 13   Below is just a sample of some of these appeals:
 14                  A.   D’Este v. Bayer Corp., 565 F.3d 1119 (9th Cir. 2009) (lower
 15   court ruling that pharmaceutical sales representatives are exempt employees
 16   affirmed).
 17                  B.   Budrow v. Dave & Buster’s of California, Inc., 171 Cal. App. 4th
 18   875 (2009) (lower court ruling in employer’s favor that certain employees can share
 19   in mandatory tip pool affirmed).
 20                  C.   Etheridge v. Reins Int’l California, Inc., 172 Cal. App. 4th 908
 21   (2009) (lower court ruling in employer’s favor that certain employees can share in
 22   mandatory tip pool affirmed).
 23                  D.   Areso v. CarMax, Inc., 195 Cal. App. 4th 996 (2011) (lower
 24   court ruling in employer’s favor approving employer’s commission pay plan
 25   affirmed).
 26                  E.   Christopher v. SmithKline Beecham Corp., 132 S. Ct. 2156, 183
 27   L. Ed. 2d 153 (2012) (lower court ruling that pharmaceutical sales representatives
 28   are exempt employees affirmed).

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  1                F.    Schaefer-LaRose v. Eli Lilly & Co., 679 F.3d 560 (7th Cir. 2012)
  2   (lower court ruling that pharmaceutical sales representatives are exempt employees
  3   affirmed).
  4                G.    Fowler v. Carmax, Inc., No. B238426, 2013 WL 1208111 (Cal.
  5   Ct. App. Mar. 26, 2013), cert. granted, judgment vacated sub nom. CarMax Auto
  6   Superstores California, LLC v. Fowler, 134 S. Ct. 1277, 188 L. Ed. 2d 290 (2014)
  7   (lower court granted employer’s motion to compel arbitration, Court of Appeal
  8   reversed, U.S. Supreme Court affirmed lower court).
  9                H.    Salazar v. Apple Am. Grp., LLC, No. E059562, 2015 WL 314703
 10   (Cal. Ct. App. Jan. 26, 2015), review denied (Apr. 22, 2015), cert. denied, 136 S. Ct.
 11   688, 193 L. Ed. 2d 519 (2015) (lower court ruling in employee’s favor on motion to
 12   compel arbitration affirmed).
 13                I.    Anaya v. J’s Maint. Serv., Inc., No. B261662, 2016 WL 519867
 14   (Cal. Ct. App. Feb. 9, 2016) (lower court ruling in employee’s favor on motion to
 15   compel arbitration affirmed).
 16         74.    Equity supports the award of attorney fees. Class actions serve the
 17   policy goals of efficient judicial management; they set a procedure where one
 18   judgment covers all claimants, ensuring that the rights of citizens are exonerated,
 19   even where their individual claims are relatively small and/or their financial means
 20   are lean, such that an attorney would be unlikely to accept the financial risk of an
 21   individual representation. Keating v. Super. Ct., 31 Cal. 3d 584, 609 (1982)
 22   (reversed in part on other grounds); Serrano v. Priest, 20 Cal. 3d 25, 34 (1977).
 23   Accordingly, “it is well settled that the lawyer who creates a common fund is
 24   allowed an extra reward...so that he might share the wealth of those upon whom he
 25   has conferred a benefit.” Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268,
 26   271 (9th Cir. 1989). Here, equity supports an award of attorney’s fees and costs,
 27   because without this class action, individual claims would likely never see the light
 28   of day, nor achieve corrective measures or compensate a class.

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  1         75.    To sum up, Class Counsel diligently litigated this matter to vindicate
  2   the rights of Class Members. Class Counsel undertook this complex, risky,
  3   expensive, and time-consuming litigation solely on a contingency basis and in so
  4   doing have secured substantial benefits for all Settlement Class Members. Class
  5   Counsel therefore asks that the Court approve the requested attorney’s fees and costs
  6   of $103,250.00, which is 35% of the GFV, as adequate and reasonable, upon
  7   counsel’s showing of good cause in connection with final approval.
  8
  9         I declare under penalty of perjury under the laws of the State of California
 10   and of the United States that the foregoing is true and correct.
 11
 12         Executed August 5, 2021 at Los Angeles, California.
 13
 14                                                        /s/ Darren M. Cohen
                                                           Darren M. Cohen
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         EXHIBIT A
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                                  #:839
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          EXHIBIT B
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                                                                           Years Out of Law School *

                                                              Paralegal/
                                                   Adjustmt   Law
                                Year               Factor**   Clerk            1-3      4-7    8-10    11-19    20 +

                                6/01/20- 5/31/21 1.015894       $206       $378      $465     $672     $759    $914

                                6/01/19- 5/31/20    1.0049      $203       $372      $458     $661     $747    $899

                                6/01/18- 5/31/19    1.0350      $202       $371      $455     $658     $742    $894

                                6/01/17- 5/31/18    1.0463      $196       $359      $440     $636     $717    $864

                                6/01/16- 5/31/17    1.0369      $187       $343      $421     $608     $685    $826

                                6/01/15- 5/31/16    1.0089      $180       $331      $406     $586     $661    $796

                                6/01/14- 5/31/15    1.0235      $179       $328      $402     $581     $655    $789

                                6/01/13- 5/31/14    1.0244      $175       $320      $393     $567     $640    $771

                                6/01/12- 5/31/13    1.0258      $170       $312      $383     $554     $625    $753

                                6/01/11- 5/31/12    1.0352      $166       $305      $374     $540     $609    $734

                                6/01/10- 5/31/11    1.0337      $161       $294      $361     $522     $589    $709

                                6/01/09- 5/31/10    1.0220      $155       $285      $349     $505     $569    $686

                                6/01/08- 5/31/09    1.0399      $152       $279      $342     $494     $557    $671

                                6/01/07-5/31/08     1.0516      $146        $268      $329    $475     $536    $645
                                6/01/06-5/31/07     1.0256      $139        $255      $313    $452     $509    $614

                                6/1/05-5/31/06       1.0427        $136      $249      $305   $441      $497    $598
                                6/1/04-5/31/05       1.0455        $130      $239      $293   $423      $476    $574

                                6/1/03-6/1/04        1.0507        $124      $228      $280   $405      $456    $549
                                6/1/02-5/31/03       1.0727        $118      $217      $267   $385      $434    $522

                                6/1/01-5/31/02       1.0407        $110      $203      $249   $359      $404    $487
                                6/1/00-5/31/01       1.0529     $106         $195      $239   $345      $388    $468

                                6/1/99-5/31/00       1.0491        $101      $185      $227   $328      $369    $444
                                6/1/98-5/31/99       1.0439         $96      $176      $216   $312      $352    $424

                                6/1/97-5/31/98       1.0419         $92      $169      $207   $299      $337    $406

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                               6/1/96-5/31/97   #:844
                                              1.0396     $88    $162   $198 $287    $323   $389

                                 6/1/95-5/31/96         1.032         $85      $155      $191     $276    $311     $375
                                 6/1/94-5/31/95        1.0237         $82      $151      $185     $267    $301     $363


                                The methodolog of calculation and benchmarking for this Updated Laffe Matrix has been
                                approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-
                                594 (RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Sala ar v. Dist.
                                of Col., 123 F.Supp.2d 8 (D.D.C. 2000).

                                * Years Out of Law School is calculated from June 1 of each ear, when most law
                                students graduate. 1-3" includes an attorne in his 1st, 2nd and 3rd ears of practice,
                                measured from date of graduation (June 1). 4-7" applies to attorne s in their 4th, 5th, 6th
                                and 7th ears of practice. An attorne who graduated in Ma 1996 would be in tier 1-3"
                                from June 1, 1996 until Ma 31, 1999, would move into tier 4-7" on June 1, 1999, and tier
                                 8-10" on June 1, 2003.

                                ** The Adjustment Factor refers to the nation-wide Legal Services Component of the
                                Consumer Price Index produced b the Bureau of Labor Statistics of the United States
                                Department of Labor.




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          EXHIBIT C
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                    Task 1: Meeting with Client, Pre-Filing, and Investigation
      Attorney                Rate       Hours           Fee
  Darren M. Cohen           $ 635.00      9.6      $ 6,096.00
   Eric B. Kingsley         $ 750.00      1.7      $ 1,275.00
Fee Request for Task 1                   11.3      $ 7,371.00

                Task 2: Filing Complaint and Drafting/Sending/Filing LWDA Letter
      Attorney                  Rate      Hours         Fee
  Darren M. Cohen            $ 635.00      12.5     $ 7,937.50
   Eric B. Kingsley          $ 750.00      2.4      $ 1,800.00
Fee Request for Task 2                     14.9     $ 9,737.50

                         Task 3: Defendant's Removal and Remand Issues
      Attorney                 Rate      Hours         Fee
  Darren M. Cohen           $ 635.00      3.2     $ 2,032.00
   Eric B. Kingsley         $ 750.00      1.8     $ 1,350.00
Fee Request for Task 3                     5      $ 3,382.00

                         Task 4: Stipulation for Relief from Local Rule 23-3
      Attorney                 Rate        Hours           Fee
  Darren M. Cohen           $ 635.00         4.3      $ 2,730.50
   Eric B. Kingsley         $ 750.00         1.5      $ 1,125.00
Fee Request for Task 4                       5.8      $ 3,855.50

                 Task 5: Initial Conferences and Correspondance with Defendant
      Attorney                   Rate      Hours         Fee
  Darren M. Cohen            $ 635.00      15.6      $ 9,906.00
   Eric B. Kingsley          $ 750.00       2.6      $ 1,950.00
Fee Request for Task 5                     18.2      $ 11,856.00

               Task 6: Prepare and Respond to Defendant's Formal Discovery
     Attorney              Rate       Hours        Fee
  Darren M. Cohen        $ 635.00      9.5     $ 6,032.50

Fee Request for Task 6                      9.5      $ 6,032.50

               Task 7: Potential ADR Discussions and Initial Informal Exchanges
     Attorney               Rate        Hours          Fee
  Darren M. Cohen         $ 635.00       7.5      $ 4,762.50

Fee Request for Task 7                      7.5      $ 4,762.50

                     Task 8: Mediation Preparation and Conduct Mediation
      Attorney                Rate       Hours         Fee
  Darren M. Cohen          $ 635.00      23.5     $ 14,922.50
   Eric B. Kingsley        $ 750.00       2.3     $ 1,725.00
Fee Request for Task 8                   25.8     $ 16,647.50
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                     Task 9: First Amended Complaint and Adding PAGA Claim
      Attorney                  Rate      Hours        Fee
   Darren M. Cohen           $ 635.00      3.2     $ 2,032.00

Fee Request for Task 9                    3.2     $ 2,032.00

                 Task 10: Drafting and Finalizing Settlement Agreement and Terms
       Attorney                 Rate       Hours           Fee
   Darren M. Cohen           $ 635.00       15.3       $ 9,715.50
    Eric B. Kingsley         $ 750.00        2.5       $ 1,875.00
Fee Request for Task 10                     17.8       $ 11,590.50

           Task 11: Drafting Motion for Preliminary Approval and Related Documents
      Attorney                Rate       Hours         Fee
   Darren M. Cohen          $ 635.00      22.1     $ 14,033.50

Fee Request for Task 11                  22.1     $ 14,033.50

              Task 12: Drafting Supplemental Declaration for Preliminary Approval
      Attorney                Rate      Hours          Fee
   Darren M. Cohen          $ 700.00     5.8      $ 4,060.00

Fee Request for Task 12                   5.8     $ 4,060.00

               Task 13: Preliminary Approval Hearing and Begin Administration
      Attorney               Rate      Hours          Fee
   Darren M. Cohen        $ 700.00      1.5      $ 1,050.00

Fee Request for Task 13                   1.5     $ 1,050.00

                  Task 14: Initiate and Complete Settlement Administration
      Attorney               Rate        Hours         Fee
   Darren M. Cohen        $ 700.00        3.8     $ 2,660.00

Fee Request for Task 14                   3.8     $ 2,660.00

              Task 15: Drafting Motions for Final Approval and Related Documents
      Attorney                Rate       Hours          Fee
   Darren M. Cohen          $ 700.00      26.8      $ 18,760.00

Fee Request for Task 15                  26.8     $ 18,760.00

        Task 16: Final Approval Hearing and Administration of Settlement (Future Time)
      Attorney               Rate        Hours        Fee
   Darren M. Cohen         $ 700.00       5.0    $ 3,500.00

Fee Request for Task 16                   5.0     $ 3,500.00
    Case 2:19-cv-04123-JAK-MAA Document 42-1 Filed 08/06/21 Page 44 of 46 Page ID
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     Attorney          Rate                                              Hours by Task                         Total Hours    Total Amount
Darren M. Cohen    $   635.00   Meeting with Client, Pre-Filing, and Investigation                      9.6      169.2       $ 110,230.50
                   $   635.00   Filing Complaint and Drafting/Sending/Filing LWDA Letter                12.5
                   $   635.00   Defendant's Removal and Remand Issues                                   3.2
                   $   635.00   Stipulation for Relief from Local Rule 23-3                             4.3
                   $   635.00   Initial Conferences and Correspondance with Defendant                   15.6
                   $   635.00   Prepare and Respond to Defendant's Formal Discovery                     9.5
                   $   635.00   Potential ADR Discussions and Initial Informal Exchanges                7.5
                   $   635.00   Mediation Preparation and Conduct Mediation                             23.5
                   $   635.00   First Amended Complaint and Adding PAGA Claim                           3.2
                   $   635.00   Drafting and Finalizing Settlement Agreement and Terms                  15.3
                   $   635.00   Drafting Motion for Preliminary Approval and Related Documents          22.1
                   $   700.00   Drafting Supplemental Declaration for Preliminary Approval              5.8
                   $   700.00   Preliminary Approval Hearing and Begin Administration                   1.5
                   $   700.00   Initiate and Complete Settlement Administration                         3.8
                   $   700.00   Drafting Motions for Final Approval and Related Documents               26.8
                   $   700.00   Final Approval Hearing and Administration of Settlement (Future Time)   5.0


Eric B. Kingsley   $   750.00   Meeting with Client, Pre-Filing, and Investigation                      1.7       14.8       $   11,100.00
                   $   750.00   Filing Complaint and Drafting/Sending/Filing LWDA Letter                2.4
                   $   750.00   Defendant's Removal and Remand Issues                                   1.8
                   $   750.00   Stipulation for Relief from Local Rule 23-3                             1.5
                   $   750.00   Initial Conferences and Correspondance with Defendant                   2.6
                   $   750.00   Prepare and Respond to Defendant's Formal Discovery                      0
                   $   750.00   Potential ADR Discussions and Initial Informal Exchanges                 0
                   $   750.00   Mediation Preparation and Conduct Mediation                             2.3
                   $   750.00   First Amended Complaint and Adding PAGA Claim                            0
                   $   750.00   Drafting and Finalizing Settlement Agreement and Terms                  2.5
                   $   750.00   Drafting Motion for Preliminary Approval and Related Documents           0
                   $   825.00   Drafting Supplemental Declaration for Preliminary Approval               0
                   $   850.00   Preliminary Approval Hearing and Begin Administration                    0
                   $   850.00   Initiate and Complete Settlement Administration                          0
                   $   850.00   Drafting Motions for Final Approval and Related Documents                0
                   $   850.00   Final Approval Hearing and Administration of Settlement                  0


Total                                                                                                            184.0       $ 121,330.50
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         EXHIBIT D
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           $5,163.38           CO                   7/18/2019         JAM                                                     /


             $450.00           CO                   7/10/2019         JAM , I    .             JAM              #1210036502


                $1.45                               6/28/2019                                  J       2019


             $104.95           CO                   5/21/2019         O -                      OC IN #117076                  5.21.19


           $1,435.00           F      F             3/21/2019         O -                      C                    C


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